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 UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF OHIO
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                                                       :
 UNITED STATES OF AMERICA,                             :          CASE NO. 5:15-CR-339
                                                       :
                   Plaintiff-Respondent,               :
                                                       :
 vs.                                                   :          OPINION & ORDER
                                                       :          [Resolving Doc. No. 490]
 CLIFFORD EDWARDS,                                     :
                                                       :
                   Defendant-Petitioner.               :
                                                       :
 -------------------------------------------------------

 JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:


          On May 12, 2017, Petitioner Clifford Edwards petitioned this Court for habeas relief

 pursuant to 28 U.S.C. § 2255.1 Petitioner asks this Court to vacate his sentence. He alleges that

 the Court improperly calculated his sentencing Guidelines, and that the Court imposed a term of

 supervised release above the statutory maximum. He also alleges that he was provided

 ineffective assistance of counsel.

          For the reasons stated below, the Court DENIES Edwards’ petition.

                                                  I. Background

          On June 22, 2016, a jury convicted Petitioner Edwards of conspiring to possess with

 intent to distribute and distributing heroin.2 On September 26, 2016, this Court sentenced him to

 140 months of incarceration and 10 years of supervised release for those crimes.3

          Prior to sentencing, the Probation Department prepared a Presentence Investigation

 Report (“PSR”). In the PSR, the Probation Department concluded that Edwards’ prior




 1
   Doc. 490. The government opposes. Doc. 508.
 2
   See Doc. 418.
 3
   See Doc. 501.
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 convictions qualified him as a career offender, and that Edwards was responsible for between 80

 and 100 grams of heroin.4

         At the sentencing hearing, Edwards’ attorney objected to the amount of drugs attributed

 to Edwards, the PSR’s United States Sentencing Guidelines (“U.S.S.G.”) calculation, and

 numerous other PSR characterizations of Edwards’ role in the offense.5 Although the Court

 overruled these objections, the Court also noted that these rulings were “not going to impact the

 sentence in this case because of the career offender [finding].”6

         Petitioner Edwards now seeks to collaterally attack his sentence. He alleges that this

 Court erroneously found that he was a career offender and incorrectly calculated his Guidelines

 range. He also argues that he suffered from ineffective assistance of counsel.

                                          II. Legal Standard

        28 U.S.C. § 2255 gives a federal prisoner post-conviction means of collaterally attacking a

 conviction or sentence that he alleges violates federal law. Section 2255 provides four grounds

 upon which a federal prisoner may challenge his conviction or sentence:

         1) That the sentence was imposed in violation of the Constitution or laws of the
         United States;
         2) That the court was without jurisdiction to impose such sentence;
         3) That the sentence exceeded the maximum authorized by law; or
         4) That the sentence is otherwise subject to collateral attack.7

         To prevail on a § 2255 motion alleging a constitutional error, the movant “must establish

 an error of constitutional magnitude that had a substantial and injurious effect or influence on the

 proceedings.”8 When alleging non-constitutional error, the movant must establish a “‘fundamental


 4
   Doc. 501 at 8, 22.
 5
   See generally id.
 6
   Id. at 21.
 7
   28 U.S.C. § 2255(a).
 8
   Watson v. United States, 165 F.3d 486, 488 (6th Cir. 1999) (citing Brecht v. Abrahamson, 507 U.S. 619,
 637-38 (1993)).
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 defect which inherently results in a complete miscarriage of justice,’ or, an error so egregious that

 it amounts to a violation of due process.”9

                                              III. Discussion

         A. Procedural Default

         Petitioner Edwards voluntarily dismissed with prejudice the direct appeal of his

 conviction and sentence.10 The procedural default doctrine forecloses collateral attacks based on

 claims that the petitioner could have raised on direct appeal unless the petitioner establishes

 either cause for the waiver and actual prejudice, or actual innocence.11 An exception, however,

 exists for claims of ineffective assistance of counsel.12

         Edwards could have, but did not, raise his claims that the Court incorrectly calculated his

 Guidelines range and improperly classified him as a career offender on direct appeal. He has

 made no attempt to show cause for this default and does not contend that he is actually innocent.

 Therefore, Edwards has procedurally defaulted those claims. Even if Edwards had not

 procedurally defaulted these claims, they fail on the merits.

         B. Supervised Release

         Petitioner Edwards argues that his 10-year term of supervised release is contrary to the

 relevant statute. He argues that 18 U.S.C. § 3583(b)(1) only allows the Court to impose a

 maximum of three years of supervised release for his crime.

         18 U.S.C. § 3583(b)(1), however, is not the relevant statute. Instead, 21 U.S.C. §

 841(b)(1)(C), one of the statutes that Edwards violated, governs the amount of time the Court



 9
   United States v. Ferguson, 918 F.2d 627, 630 (6th Cir.1990) (citing Hill v. United States, 368 U.S. 424,
 428 (1963)).
 10
    Doc. 465.
 11
    See Bousley v. United States, 523 U.S. 614, 621-24 (1998).
 12
    Massaro v. United States, 538 U.S. 500, 504 (2003).
                                                     -3-
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 can order Edwards to remain on supervised release. Section 841(b)(1)(C) explicitly recognizes

 that it supersedes 18 U.S.C. § 3583’s maximum supervised release terms.13 Section 841(b)(1)(C)

 requires the Court to “impose a term of supervised release of at least 3 years” and does not place

 an upper limit on the imposed term.14

         For these reasons, the Court properly sentenced Edwards to a 10-year term of supervised

 release.

         C. Guidelines Calculation

         Petitioner Edwards believes that he should receive a two-level reduction in his Guidelines

 calculation based on Guideline Amendment 782, which lowered the base offense levels for most

 drug quantities by two.15 This amendment went into effect in November 2014 and was

 incorporated into the 2015 Guidelines Manual.16

         The Court calculated Petitioner’s sentence using the 2015 Guidelines Manual.17 As such,

 Petitioner Edwards’ Guidelines calculation included the Amendment 782 offense level

 adjustment.

         D. Career Offender Determination

         Petitioner Edwards objects to his designation as a career offender under U.S.S.G. § 4b1.1.

 He argues that the Court improperly relied on the PSR to establish the existence of his past

 convictions, and that the Court improperly used two of his three past convictions in making the

 career offender determination.




 13
    Id. (requiring lengthier terms of supervised release “[n]otwithstanding section 3583 of Title 18”).
 14
    21 U.S.C. § 841(b)(1)(C).
 15
    See United States v. Steel, 609 F. App’x. 851, 855 (6th Cir. 2015) (discussing the enactment and
 application of Amendment 782).
 16
    Id.
 17
    See Doc. 446 at 8.
                                                     -4-
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         Edwards is incorrect that the Court cannot rely on the PSR to establish the existence of a

 prior conviction. The Sixth Circuit has repeatedly held that a district court does not err when it

 relies on a PSR in order to establish the existence of a prior conviction, if the defendant did not

 object to the factual accuracy of that portion of the PSR.18

         Here, Edwards did not object to the accuracy or existence of his convictions contained

 within the PSR. Indeed, Edwards still does not object to them in the instant motion. Instead, he

 focuses solely on the Court’s use of those convictions.

         Additionally, the Court properly designated Edwards a career offender because he has

 two qualifying offenses. Edwards’ two qualifying offenses are (1) a 1994 federal conviction for

 conspiracy with intent to distribute cocaine, and (2) a 2008 state conviction for trafficking in

 cocaine and possession of cocaine.19

         Edwards does not contest that his 2008 state court conviction for trafficking in cocaine is

 a qualifying controlled substance offense. Instead, he argues that the 1994 federal conviction is

 stale and falls outside of the Guidelines’ 15-year look back period.

         U.S.S.G. § 4A1.2(e)(1) states that the applicable time period for determining whether a

 prior conviction counts for the career offender enhancement is “any prior sentence of

 imprisonment exceeding one year and one month, whenever imposed, that resulted in the

 defendant being incarcerated during any part of such fifteen-year period” prior to the defendant

 commencing the instant offense.




 18
    See United States v. Birdsong, 330 F. App’x. 573, 586 (6th Cir. 2009) (“[T]he district court did not err
 in relying upon the presentence investigation report (‘PSR’) to determine whether defendant’s prior
 convictions qualified for the armed career offender enhancement.”); United States v. Thomas, 13 F.
 App’x. 233, 241 (6th Cir. 2001) (same).
 19
    Doc. 501 at 25.
                                                     -5-
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         Petitioner Edwards was incarcerated for his 1994 federal conviction until November

 1999.20 Edwards’ involvement in the instant conspiracy began in 2013.21 Because his 1994

 conviction “resulted in [Petitioner] being incarcerated during any part of [the prior] fifteen-year

 period” before commencing the current conspiracy, it counts for the career offender

 determination.22

         E. Ineffective Assistance of Counsel at Sentencing

         In Strickland v. Washington,23 the Supreme Court created a two-pronged test that a

 defendant must satisfy to show ineffective assistance of counsel. First, the petitioner must show

 that counsel’s performance was deficient.24 Second, the petitioner must show that counsel’s

 deficient performance prejudiced the defense.25 If a petitioner fails to prove either prong, his

 ineffective assistance claim fails.26

         Edwards’ counsel’s performance was not deficient. Edwards argues that his attorney

 failed to object to the drug quantity in the PSR, other alleged factual errors within the PSR, and

 to his designation as a career offender.27 A review of the sentencing transcript, however, shows

 that Edwards’ attorney objected to all of the factual issues that Edwards now raises with the

 exception of Edwards’ status as a career offender. As discussed above, that objection would have

 been meritless, and therefore Edwards’ attorney had no duty to raise it.28




 20
    Doc. 501 at 27. This is obviously a longer period of incarceration than the “one year and one month”
 needed to qualify for U.S.S.G. § 4A1.2(e)(1)’s 15-year look back period.
 21
    Doc. 62 at 2.
 22
    U.S.S.G. § 4A1.2(e)(1).
 23
    466 U.S. 668 (1984).
 24
    Id. at 686.
 25
    Id.
 26
    Id. at 687.
 27
    Doc. 490 at 1.
 28
    Ludwig v. United States, 162 F.3d 456, 459 (6th Cir. 1998) (“Counsel was not required to raise
 meritless arguments to avoid a charge of ineffective assistance of counsel.”).
                                                    -6-
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         Ultimately, Edwards’ counsel either did exactly what Edwards now contends that he

 should have done, or simply chose not to raise a meritless argument. Because of this, counsel’s

 performance was not deficient, and Edwards’ claim for ineffective assistance of counsel fails. 29

                                          IV. CONCLUSION

         For the reasons stated above, the Court DENIES Edwards’ petition for habeas corpus

 relief. Further, this Court certifies that no appeal could be taken from this decision in good faith.



         IT IS SO ORDERED.


 Dated: September 29, 2017                                s/       James S. Gwin__________
                                                          JAMES S. GWIN
                                                          UNITED STATES DISTRICT JUDGE




 29
   Even if counsel’s failure to raise this argument could somehow be described as deficient, Edwards was
 not prejudiced because, as discussed above, his two prior convictions plainly qualify him for a U.S.S.G. §
 4b1.1 career offender enhancement.
                                                    -7-
